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      In The United States Court of Federal Claims
                                            No. 07-359C

                                       (Filed: April 17, 2009)
                                            __________
 SERAPHIM TRANSPORT COMPANY,

                         Plaintiff,

         v.

 THE UNITED STATES,

                         Defendant.
                                             _________

                                             ORDER
                                            __________

         On December 9, 2008, the court issued an order staying this case and requiring defendant to
file a status report regarding the criminal investigation (sealed or en camera, as necessary) on or
before February 3, 2009, with a subsequent report to follow every 56 days thereafter for the duration
of the stay. A report under this order was due on April 3, 2009. No report was filed. After the
deadline was missed, chambers contacted defendant and received assurances that the status report
would be submitted with a motion for leave to file out of time. To date, neither has been received.
Accordingly:

       1.       If defendant’s sealed or en camera status report regarding the criminal
                investigation and a motion for leave to file out of time are not received by
                April 21, 2009, the court will issue a show cause order requiring defendant
                to explain why sanctions should not be imposed.

       2.       For this filing and in the future, defendant shall file an electronic notice of
                filing each time it submits an en camera status report in this case.

       3.       Nothing in this order shall be construed as affecting defendant’s obligation
                to file a status report regarding the criminal investigation, sealed or en
                camera, every 56 days for the duration of the stay.

       IT IS SO ORDERED.


                                                               s/ Francis M. Allegra
                                                               Francis M. Allegra
                                                               Judge
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